                   Case 23-11240-TMH           Doc 156       Filed 09/25/23        Page 1 of 4




                         IN THE UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF DELAWARE

                                                                    )
    In re:                                                          ) Chapter 11
                                                                    )
    AMERIFIRST FINANCIAL, INC.,1                                    ) Case No. 23-11240 (TMH)
                                                                    )
                                                                    ) (Jointly Administered)
                                                                    )

AMENDED2 NOTICE OF AGENDA OF MATTERS SCHEDULED FOR HEARING ON
SEPTEMBER 26, 2023 AT 11:00 A.M. (EASTERN TIME) BEFORE THE HONORABLE
 THOMAS M. HORAN IN THE U.S. BANKRUPTCY COURT, 824 NORTH MARKET
   STREET, 3RD FLOOR, COURTROOM 7, WILMINGTON, DELAWARE 19801


              AS NO MATTERS ARE GOING FORWARD, THE HEARING
              HAS BEEN CANCELED WITH THE COURT’S PERMISSION


1.           DIP Motion – Motion of the Debtors for Interim and Final Orders (I) Authorizing
             Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II)
             Granting Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic
             Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief [Filed: 8/29/23]
             (Docket No. 21).

             Response Deadline: September 13, 2023 at 5:00 p.m. (Eastern Time).

             Responses Received:

             a) Informal comments received from GNMA and the FHA.

             b) Emergency Motion of Eric Bowlby to Adjourn the September 18, 2023 Hearing and
                September 13, 2023 Objection Deadline of Debtors’ Motion for Entry of a Final
                Order (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize
                Cash Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III)
                Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting
                Related Relief [Filed: 9/12/23] (Docket No. 113).



1
 The Debtors and the last four digits of their respective taxpayer identification numbers include: Phoenix 1040
LLC (2550) and AmeriFirst Financial, Inc. (4557). The Debtors’ service address is 1550 McKelleps Road, Suite
117, Mesa, AZ 85203.

2
    Amended items appear in bold.


DOCS_DE:244934.3 70786/001
                Case 23-11240-TMH        Doc 156     Filed 09/25/23     Page 2 of 4




             (i) [Signed] Order Denying Emergency Motion of Eric Bowlby to Adjourn the
                 September 18, 2023 Hearing and September 13, 2023 Objection Deadline of
                 Debtors’ Motion for Entry of a Final Order (I) Authorizing Debtors (A) to Obtain
                 Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate
                 Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV)
                 Scheduling a Final Hearing, and (V) Granting Related Relief [Filed: 9/13/23]
                 (Docket No. 115).

        c) Preliminary Objection of Eric Bowlby to Debtors’ First Day Motions [Filed:
           8/30/23] (Docket No. 44).

        d) Supplemental Objection of Eric Bowlby to Debtors’ Motion for Entry of a Final
           Order (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize
           Cash Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III)
           Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting
           Related Relief [Filed: 9/13/23] (Docket No. 116).

             (i) Declaration of Eric Bowlby, Former CEO and Majority Shareholder of AFI,
                 in Support of Eric Bowlby’s Supplemental Objection to Debtors’ Motion for
                 Entry of a Final Order (I) Authorizing Debtors (A) to Obtain Postpetition
                 Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate
                 Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV)
                 Scheduling a Final Hearing, and (V) Granting Related Relief [Filed: 9/22/23]
                 (Docket No. 154).

        Related Documents:

        a) Notice of Hearing on Motion of the Debtors for Interim and Final Orders (I)
           Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
           Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III) Modifying
           the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related
           Relief [Filed: 8/29/23] (Docket No. 37).

        b) Notice of Filing of Revised Proposed Interim Order (I) Authorizing Debtors (A) to
           Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting
           Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV)
           Scheduling a Final Hearing, and (V) Granting Related Relief [Filed: 8/30/23] (Docket
           No. 47).

        c) Certification of Counsel Regarding Interim Order (I) Authorizing Debtors (A) to
           Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting
           Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV)
           Scheduling a Final Hearing, and (V) Granting Related Relief [Filed: 8/31/23] (Docket
           No. 57).

        d) [Signed] Interim Order (I) Authorizing Debtors (A) to Obtain Postpetition Financing
           and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition



DOCS_DE:244934.3 70786/001                       2
                Case 23-11240-TMH        Doc 156    Filed 09/25/23       Page 3 of 4




             Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and
             (V) Granting Related Relief [Filed: 8/31/23] (Docket No. 61).

        e) Notice of Entry of Interim Order and Final Hearing Regarding Motion of the Debtors
           for Interim and Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition
           Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to
           Prepetition Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling a Final
           Hearing, and (V) Granting Related Relief [Filed: 9/1/23] (Docket No. 67).

        f) Notice of Filing of Proposed Final Order (I) Authorizing Debtors (A) to Obtain
           Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate
           Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, and (IV)
           Granting Related Relief [Filed: 9/7/23] (Docket No. 82).

        g) Notice of Filing of Budget [Filed: 9/8/23] (Docket No. 87).

        h) Debtors’ Witness and Exhibit List for Hearing on September 18, 2023 at 2:00 p.m.
           (ET) [Filed: 9/14/23] (Docket No. 119).

        i) Notice of Emergency Zoom Hearing September 15, 2023 at 4:00 p.m. [Filed:
           9/15/23] (Docket No. 123).

        j) Re-Notice of Hearing on Motion of the Debtors for Interim and Final Orders (I)
           Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
           Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III) Modifying
           the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related
           Relief [Filed: 9/18/23] (Docket No. 138).

        k) Eric Bowlby’s Witness List and Exhibit List for Hearing on September 26, 2023
           at 11:00 a.m. (ET) [Filed: 9/22/23] (Docket No. 155).

        Replies:

        a) Reply of the Debtors in Support of Motion of the Debtors for Interim and Final Order
           (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
           Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III) Modifying
           the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related
           Relief [Filed: 9/14/23] (Docket No. 118).

        Status: This matter has been continued to the omnibus hearing scheduled for
        October 2, 2023 at 11:00 a.m.




DOCS_DE:244934.3 70786/001                      3
                Case 23-11240-TMH   Doc 156     Filed 09/25/23   Page 4 of 4




Dated: September 25, 2023           PACHULSKI STANG ZIEHL & JONES LLP
       Wilmington, Delaware
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                                    David M. Bertenthal (CA Bar No. 167624)
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                                    Proposed Counsel to the Debtors and Debtors in Possession




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